Case 2:17-cv-13233-DML-DRG ECF No. 18 filed 10/26/18                    PageID.173      Page 1 of 7



                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF MICHIGAN
                                     SOUTHERN DIVISION

BRADLEY GELLER,

                         Plaintiff,                      Civil Action No. 17-13233
                                                         Honorable David M. Lawson
v.                                                       Magistrate Judge David R. Grand

STATE OF MICHIGAN,

                         Defendant,

UNITED STATES OF AMERICA,

                  Interested Party.
__________________________________/

                         REPORT AND RECOMMENDATION TO
                      GRANT DEFENDANT’S MOTION TO DISMISS [10]

          Before the Court is a Motion to Dismiss filed by Defendant State of Michigan (the

“State”) on August 16, 2018.1 (Doc. #10). On September 28, 2018, pro se Plaintiff Bradley

Geller (“Geller”) filed a response to this motion (Doc. #15), and the State filed a reply on

October 17, 2018 (Doc. #17). An Order of Reference was entered on August 27, 2018, referring

all pretrial matters to the undersigned pursuant to 28 U.S.C. § 636(b). (Doc. #11).

          Having reviewed the pleadings and other papers on file, the Court finds that the facts and

legal issues are adequately presented in the parties’ briefs and on the record, and it declines to

order a hearing at this time.

I.        RECOMMENDATION

          For the reasons set forth below, IT IS RECOMMENDED that the State’s Motion to

Dismiss (Doc. #10) be GRANTED.


1
    The United States, as an interested party, concurs with the State’s motion. (Doc. #10 at 2).
Case 2:17-cv-13233-DML-DRG ECF No. 18 filed 10/26/18                   PageID.174       Page 2 of 7



II.    REPORT

       A.      Background

       On October 3, 2017, Geller filed this qui tam action under the False Claims Act (“FCA”),

alleging various shortcomings within the Michigan guardianship system.2 (Doc. #1). Geller’s

complaint also mentions claims under 42 U.S.C. § 1983, the Americans with Disabilities Act

(“ADA”), the Racketeer Influenced and Corrupt Organizations Act (“RICO”), and the Michigan

Medicaid False Claims Act. (Id. at 22-26). Geller seeks injunctive relief against various non-

parties, including the Michigan Supreme Court, the Michigan Attorney General, the Michigan

Department of Licensing and Regulatory Affairs, and the Michigan Department of Health and

Human Services. (Id. at 26-36). The State now seeks dismissal of Geller’s complaint, in

relevant part, pursuant to Fed. Rule Civ. P. 12(b)(1).3 (Doc. #10).

       B.      The Applicable Legal Standard

       A motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(1) challenges the Court’s subject-

matter jurisdiction. “Rule 12(b)(1) motions to dismiss for lack of subject-matter jurisdiction

generally come in two varieties: a facial attack or a factual attack.” Gentek Bldg. Prods., Inc. v.

Sherwin-Williams Co., 491 F.3d 320, 330 (6th Cir. 2007); United States v. Ritchie, 15 F.3d 592,

598 (6th Cir. 1994). At issue here is a facial attack, which is a challenge to the sufficiency of the

pleading itself. See Ritchie, 15 F.3d at 598. “On such a motion, the court must take the material

allegations of the petition as true and construed in the light most favorable to the nonmoving


2
 On July 10, 2018, the United States filed a notice of its election to decline to intervene in this
action. (Doc. #8).
3
  In its motion, the State argues that it is not a proper defendant for purposes of Geller’s qui tam
claim under the FCA. (Doc. #10 at 9-11). In response, Geller indicates that he is “amenable to
dropping the State as a defendant for the qui tam claim, and only the qui tam claim, while
keeping the State as a defendant for other claims.” (Doc. #15 at 4). Thus, dismissal of Geller’s
qui tam claim is appropriate.

                                                 2
Case 2:17-cv-13233-DML-DRG ECF No. 18 filed 10/26/18                   PageID.175       Page 3 of 7



party.” Id. Under Rule 12(b)(1), the plaintiff bears the burden of proving jurisdiction in order to

survive the motion to dismiss. See Moir v. Greater Cleveland Reg’l Transit Auth., 895 F.2d 266,

269 (6th Cir. 1990).

       C.      Analysis

       As set forth above, Geller has agreed to dismissal of his qui tam claim against the State.

(Doc. #15 at 4). At issue, then, is the sufficiency of his remaining claims, which he purports to

bring under 42 U.S.C. § 1983, the ADA, RICO, and the Michigan Medicaid False Claims Act.

(Doc. #1 at 22-26). In relevant part, the State argues that dismissal of these claims is appropriate

because Geller lacks standing to assert them.4 (Doc. #10 at 14-16).

       The Sixth Circuit has recognized that, “The threshold question in every federal case is

whether the court has the judicial power to entertain the suit.” Nat’l Rifle Ass’n of Am. v.

Magaw, 132 F.3d 272, 279 (6th Cir. 1997). Article III of the United States Constitution provides

that federal courts may exercise jurisdiction only where an actual “case or controversy” exists.

U.S. Const. art. III, § 2.    “One element of the case-or-controversy requirement is that [a

plaintiff], based on [his] complaint, must establish that [he] ha[s] standing to sue.” Raines v.

Byrd, 521 U.S. 811, 818 (1997). To this end, it is well-established that:

               … the ‘irreducible constitutional minimum’ of standing consists of three
               elements. The plaintiff must have (1) suffered an injury in fact, (2) that is
               fairly traceable to the challenged conduct of the defendant, and (3) that is
               likely to be redressed by a favorable judicial decision. The plaintiff, as the
               party invoking federal jurisdiction, bears the burden of establishing these
               elements.


4
  The State also argues that “most if not all” of Geller’s federal and state law claims are barred
by the doctrine of sovereign immunity under the Eleventh Amendment. (Doc. #10 at 11-13). In
response, Geller asserts – contrary to what he pled in his complaint (Doc. #1 at 36) – that he is
seeking only equitable relief, and, thus, the Eleventh Amendment does not bar his claims (Doc.
#15 at 10). Because the Court is recommending dismissal of Geller’s claims on other grounds, it
need not consider the merits of the parties’ Eleventh Amendment immunity arguments.

                                                 3
Case 2:17-cv-13233-DML-DRG ECF No. 18 filed 10/26/18                    PageID.176       Page 4 of 7



Spokeo, Inc. v. Robins, 136 S. Ct. 1540, 1547 (2016) (internal citations omitted). In other words,

of particular relevance here, Article III “requires the party who invokes the court’s authority to

show that he personally has suffered some actual or threatened injury as a result of the

putatively illegal conduct of the defendant.” Valley Forge Christian Coll. v. Americans United

for Separation of Church and State, Inc., 454 U.S. 464, 472 (1982) (internal quotation omitted)

(emphasis added).

       In this case, a review of Geller’s complaint establishes that he lacks standing to bring any

of his non-FCA claims because he simply does not allege that he personally suffered any injuries

as a result of the State’s alleged actions. Rather, Geller alleges only that “[d]uring his practice as

a lawyer, [his] clients have been adversely affected by practices set forth in this Complaint.”

(Doc. #1 at 13). Such an allegation is insufficient, however, as a plaintiff “generally must assert

his own legal rights and interests, and cannot rest his claim to relief on the legal rights or

interests of third parties.” Warth v. Seldin, 422 U.S. 490, 499 (1975); see also Kowalski v.

Tesmer, 543 U.S. 125, 129 (2004). Thus, it certainly appears that Geller lacks the necessary

“injury in fact” required to confer standing.

       Geller argues, however, that, under certain limited circumstances, courts will allow a

plaintiff to assert the rights of a third party.5 (Doc. #15 at 14-25). It is true that “[a] plaintiff

may raise a constitutional claim on behalf of a third party if he can prove (1) injury-in-fact to the


5
  In his response to the State’s motion, Geller also references an individual named “Ronald E.
Boucher,” who he claims was named in an amended complaint purportedly filed with the Court.
(Doc. #15 at 2). According to Geller, Mr. Boucher “is under court-ordered guardianship even
though he does not meet the two statutory thresholds for appointment of a guardian”; thus, Mr.
Boucher allegedly has standing to pursue the claims at issue herein, both on behalf of himself
and as a representative of a class. (Id. at 11). To date, however, Geller has not filed such an
amended complaint, nor can he do so without the written consent of the State or leave of Court.
See Fed. R. Civ. P. 15(a)(2). Thus, Geller’s October 3, 2017 complaint remains the operative
complaint in this action.

                                                  4
Case 2:17-cv-13233-DML-DRG ECF No. 18 filed 10/26/18                     PageID.177       Page 5 of 7



plaintiff, (2) a close relationship between the plaintiff and the third party whose rights he asserts,

and (3) a hindrance preventing the third party from raising his own claim.” Moody v. Michigan

Gaming Control Bd., 847 F.3d 399, 402 (6th Cir. 2017) (citing Kowalski, 543 U.S. at 129-30).

Presumably, a “close relationship between the litigant and third party ensures that the plaintiff

will effectively advocate for the third party’s rights.” Moody, 847 F.3d at 402.

       There are two problems with Geller’s argument. First, for the reasons set forth above,

Geller simply has not shown that he personally suffered an injury in fact. Second, even if Geller

had made such a showing, and also was able to demonstrate a “close relationship” with the third

parties whose rights he seeks to assert,6 the fact still remains that he has not sufficiently alleged a

hindrance preventing these third parties from raising their own claims. The Sixth Circuit has

recognized that, “Determining the existence of a hindrance requires examining ‘the likelihood

and ability of the third parties … to assert their own rights.’” Moody, 847 F.3d at 402 (quoting

Powers v. Ohio, 499 U.S. 400, 414 (1991)). Here, Geller has failed to offer any concrete reason

beyond mere anecdotal assertions7 why the third parties at issue – who allegedly are improperly

subject to guardianships – cannot assert their own rights in challenging the propriety of such


6
  It is this prong of the Moody test to which Geller dedicates the majority of his response brief.
(Doc. #15 at 14-25). Regardless of whether Geller has a sufficiently close relationship with the
third parties whose claims he seeks to advance, however, he cannot meet either of the other two
elements necessary to establish standing.
7
  For example, Geller asserts that, “Drawing upon his experience, [he] believes there are
hundreds of individuals who have a guardian and whose rights and lives have been adversely
affected by improper actions and inactions of the Defendants.” (Doc. #15 at 12). He variously
asserts that “[i]ndividuals under a court order of guardianship haven’t access to justice through
appeals …”; “an 85-year old woman under guardianship most certainly does not” know her
appeal rights; and, even “if an individual is aware of her or his right to appeal, she or he [] faces
the wrath of, and retaliation by, the guardian [who] [i]n practice [] can block the ability of an
individual to use the telephone, to have any visitors, to send and receive mail.” (Id. at 19, 20,
21). Such assertions are devoid of factual support, however, and simply do not establish – in a
concrete manner – the alleged hindrances preventing such individuals from pursuing their own
claims.

                                                  5
Case 2:17-cv-13233-DML-DRG ECF No. 18 filed 10/26/18                 PageID.178      Page 6 of 7



guardianships.8 Indeed, any individual dissatisfied with a probate court’s adjudication of his or

her rights and interests in a guardianship proceeding may appeal the court’s decision to the

Michigan Court of Appeals as a matter of right. See M.C.R. 5.801(A)(3); see also Kowalski, 543

U.S. at 132 (finding no hindrance where state court appellate review was available). The

Michigan Court Rules also provide for periodic review of guardianships by a court-appointed

investigator, and, if an individual requests or petitions for modification of guardianship, court

appointment of attorneys for representation. See M.C.R. 5.408. Accordingly, Geller has failed

to show any hindrance preventing these individuals from raising their own claims, and he

therefore lacks standing to assert his remaining, non-FCA claims.

III.   CONCLUSION

       For the reasons set forth above, IT IS RECOMMENDED that the State’s Motion to

Dismiss (Doc. #10) be GRANTED and Geller’s claims against the State be dismissed in their

entirety and with prejudice.


Dated: October 26, 2018                             s/David R. Grand
Ann Arbor, Michigan                                 DAVID R. GRAND
                                                    United States Magistrate Judge



                NOTICE TO THE PARTIES REGARDING OBJECTIONS

       Within 14 days after being served with a copy of this Report and Recommendation and

Order, any party may serve and file specific written objections to the proposed findings and

recommendations and the order set forth above. See 28 U.S.C. §636(b)(1); Fed. R. Civ. P.
8
  Indeed, the Court notes that Ronald Boucher – the one specific individual referenced by Geller
in his response brief, and through whom Geller attempts to assert standing – is not even alleged
to be mentally incompetent. To the contrary, Geller explains that Boucher “is under court-
ordered guardianship even though he … is not an incapacitated person (that is, he is capable of
making informed decisions about his care) and guardianship is not necessary (he is fully able to
voluntarily execute a durable power of attorney for health care).” (Doc. #15 at 11).
                                               6
Case 2:17-cv-13233-DML-DRG ECF No. 18 filed 10/26/18                  PageID.179      Page 7 of 7



72(b)(2); E.D. Mich. LR 72.1(d)(1). Failure to timely file objections constitutes a waiver of any

further right of appeal. See Thomas v. Arn, 474 U.S. 140, (1985); United States v. Sullivan, 431

F.3d 976, 984 (6th Cir. 2005). Only specific objections to this Report and Recommendation will

be preserved for the Court’s appellate review; raising some objections but not others will not

preserve all objections a party may have. See Smith v. Detroit Fed’n of Teachers Local 231, 829

F.2d 1370, 1373 (6th Cir. 1987); see also Frontier Ins. Co. v. Blaty, 454 F.3d 590, 596-97 (6th

Cir. 2006). Copies of any objections must be served upon the Magistrate Judge. See E.D. Mich.

LR 72.1(d)(2).

       A party may respond to another party’s objections within 14 days after being served with

a copy. See Fed. R. Civ. P. 72(b)(2); 28 U.S.C. §636(b)(1). Any such response should be

concise, and should address specifically, and in the same order raised, each issue presented in the

objections.


                                CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was served upon counsel of record
and any unrepresented parties via the Court’s ECF System to their respective email or First Class
U.S. mail addresses disclosed on the Notice of Electronic Filing on October 26, 2018.

                                                     s/Eddrey O. Butts
                                                     EDDREY O. BUTTS
                                                     Case Manager




                                                7
